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15
                               UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17                                SAN FRANCISCO DIVISION

18   UNITED STATES OF AMERICA,                            Case No. 14-CR-00175-WHA

19                                Plaintiff,                 [PROPOSED] ORDER
                                                             GRANTING ADMINISTRATIVE
20                                                           MOTION OF PACIFIC GAS
            v.                                               AND ELECTRIC COMPANY TO
21
                                                             FILE UNDER SEAL PORTIONS
     PACIFIC GAS AND ELECTRIC COMPANY,                       OF RESPONSE TO ORDER
22
                                                             REQUESTING ADDITIONAL
23                                Defendant.
                                                             INFORMATION FOLLOWING
                                                             PG&E’S NOVEMBER 18
24                                                           BRIEFING
25
                                                             Judge: Hon. William H. Alsup
26

27

28        [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION OF PACIFIC GAS AND ELECTRIC
              COMPANY TO FILE UNDER SEAL PORTIONS OF RESPONSE TO ORDER REQUESTING
                 ADDITIONAL INFORMATION FOLLOWING PG&E’S NOVEMBER 18 BRIEFING

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 1          The Court, having reviewed the Administrative Motion of Pacific Gas and Electric

 2   Company to File Under Seal Portions of its Response to Order Requesting Additional
 3
     Information Following PG&E’s November 18 Briefing (the “Administrative Motion”), and good
 4
     cause having been shown, hereby GRANTS PG&E’s Administrative Motion.
 5
                    For the reasons set forth in the Administrative Motion and counsel’s Declaration
 6
     in support of the Administrative Motion, the Court finds that portions of Exhibit 1 to the
 7
     Declaration of Kate Dyer in Support of Pacific Gas and Electric Company’s Administrative
 8
     Motion, which corresponds to Exhibit B to PG&E’s Response to Order Requesting Additional
 9
     Information Following PG&E’s November 18 Briefing, filed December 16, 2020, shall be filed
10
     under seal.
11
                    IT IS SO ORDERED.
12

13
            DATED: December 17, 2020.
14

15
                                                  _______________________________________
16                                                HON. WILLIAM ALSUP
                                                  United States District Judge
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28                                            2
          [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION OF PACIFIC GAS AND ELECTRIC
              COMPANY TO FILE UNDER SEAL PORTIONS OF RESPONSE TO ORDER REQUESTING
                 ADDITIONAL INFORMATION FOLLOWING PG&E’S NOVEMBER 18 BRIEFING

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